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                             UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

In re:                                                         Case No. 6:12-bk-11834-ABB
         RAMON A MUNOZ
         VICTORIA MUNOZ
                 Debtor(s)


          CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Laurie K. Weatherford, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:


         1) The case was filed on 08/30/2012.

         2) The plan was confirmed on 09/16/2013.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan on
05/31/2017, 09/15/2017, 01/16/2018.

         5) The case was completed on 03/08/2018.

         6) Number of months from filing to last payment: 66.

         7) Number of months case was pending: 68.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $177,079.51.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .



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Receipts:

           Total paid by or on behalf of the debtor           $169,153.86
           Less amount refunded to debtor                           $0.00

NET RECEIPTS:                                                                                 $169,153.86


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                  $4,200.00
    Court Costs                                                                $0.00
    Trustee Expenses & Compensation                                        $5,160.33
    Other                                                                    $350.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                 $9,710.33

Attorney fees paid and disclosed by debtor:                       $0.00


Scheduled Creditors:
Creditor                                          Claim        Claim           Claim      Principal    Int.
Name                                  Class     Scheduled     Asserted        Allowed       Paid       Paid
ADVANT A BK                   Unsecured           4,456.00           NA             NA          0.00     0.00
AMERICAN EXPRESS              Unsecured             411.00           NA             NA          0.00     0.00
AMERICAN EXPRESS              Unsecured             384.00           NA             NA          0.00     0.00
AMERICAN EXPRESS              Unsecured             325.00           NA             NA          0.00     0.00
AMERICAN EXPRESS              Unsecured             306.00           NA             NA          0.00     0.00
AMERICAN EXPRESS BANK, FSB    Unsecured             325.63        509.41         325.63       325.63     0.00
AMERICAN EXPRESS CENT URION B Unsecured             568.90        568.90         568.90       321.91     0.00
AMERICAN EXPRESS CENT URION B Unsecured               0.00        559.91         411.09       411.09     0.00
AMERICAN INFOSOURCE, LP       Unsecured           2,862.90      2,862.90       2,862.90     2,648.27     0.00
AMERICAN INFOSOURCE, LP       Unsecured               0.00        313.01         313.01       289.54     0.00
BACK BOWL I, LLC - SERIES C   Unsecured                NA       3,915.89       3,915.89     3,622.31     0.00
BACK BOWL I, LLC - SERIES C   Unsecured                NA       2,355.56       2,355.56     2,178.96     0.00
BANK OF AMERICA, N.A.         Secured            23,424.98          0.00           0.00         0.00     0.00
CHASE                         Unsecured           3,493.04           NA             NA          0.00     0.00
CHESWOLD (OPHRYS), LLC        Unsecured           1,201.58      1,201.58       1,201.58     1,111.50     0.00
CIT IBANK SD, NA              Unsecured           3,845.77           NA             NA          0.00     0.00
CIT IBANK SD, NA              Unsecured           2,238.62           NA             NA          0.00     0.00
COLLECT CORP                  Unsecured             534.91           NA             NA          0.00     0.00
CORA HEALT H                  Unsecured             710.00           NA             NA          0.00     0.00
CORA HEALT H SERVICES, INC.   Unsecured              30.00           NA             NA          0.00     0.00
DISCOVER BANK                 Unsecured           3,944.95      3,944.93       3,944.93     3,649.18     0.00
FEDERAL NAT IONAL MORT GAGE A Secured            63,608.00     65,191.44           0.00    41,897.64     0.00
FEDERAL NAT IONAL MORT GAGE A Secured           249,610.00    269,981.74           0.00    69,429.56     0.00
FEDERAL NAT IONAL MORT GAGE A Secured                 0.00      4,607.54       4,607.54     4,607.54     0.00
GEMB/JC PENNY                 Unsecured             313.01           NA             NA          0.00     0.00
INT ERNAL REVENUE SERVICE     Unsecured                NA         722.00         722.00       667.87     0.00
INT ERNAL REVENUE SERVICE     Priority                 NA       6,812.37       6,812.37     6,812.37     0.00
KEVIN B WILSON LAW OFFICES    Unsecured             550.00           NA             NA          0.00     0.00
KEYST ONE RECOVERY PART NERS Unsecured           11,630.86     12,238.43      12,238.43    11,320.91     0.00
LVNV FUNDING, LLC             Unsecured           2,485.00      2,485.45       2,485.45     2,299.12     0.00



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Scheduled Creditors:
Creditor                                       Claim          Claim       Claim       Principal       Int.
Name                                Class    Scheduled       Asserted    Allowed        Paid          Paid
LVNV FUNDING, LLC                Unsecured     5,385.74       5,385.74     5,385.74       4,981.97       0.00
LVNV FUNDING, LLC                Unsecured         0.00         149.57       149.57         138.35       0.00
NAT IONST AR MORT GAGE, LLC      Secured     302,897.00     394,946.17          NA            0.00       0.00
NAT IONWIDE CREDIT INC           Unsecured       559.91            NA           NA            0.00       0.00
NCO FIN/33                       Unsecured       150.00            NA           NA            0.00       0.00
NCO FINANCIAL SYST EMS INC       Unsecured     1,201.58            NA           NA            0.00       0.00
NCO FINANCIAL SYST EMS INC       Unsecured     2,485.45            NA           NA            0.00       0.00
PORT FOLIO RECOVERY ASSOCIAT E   Unsecured     1,481.39       1,516.39     1,516.39       1,402.70       0.00
PORT FOLIO RECOVERY ASSOCIAT E   Unsecured       688.52         717.58       717.58         663.78       0.00
PORT FOLIO RECOVERY ASSOCIAT E   Unsecured       717.09         717.09       717.09         663.33       0.00
PREMIER FIN                      Unsecured       700.00            NA           NA            0.00       0.00
SELENE FINANCE, LP               Secured           0.00     245,744.87         0.00           0.00       0.00


Summary of Disbursements to Creditors:
                                                               Claim          Principal              Interest
                                                            Allowed               Paid                  Paid
Secured Payments:
      Mortgage Ongoing                                         $0.00     $111,327.20                  $0.00
      Mortgage Arrearage                                   $4,607.54       $4,607.54                  $0.00
      Debt Secured by Vehicle                                  $0.00           $0.00                  $0.00
      All Other Secured                                        $0.00           $0.00                  $0.00
TOTAL SECURED:                                             $4,607.54     $115,934.74                  $0.00

Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00            $0.00                 $0.00
        Domestic Support Ongoing                               $0.00            $0.00                 $0.00
        All Other Priority                                 $6,812.37        $6,812.37                 $0.00
TOTAL PRIORITY:                                            $6,812.37        $6,812.37                 $0.00

GENERAL UNSECURED PAYMENTS:                               $39,831.74       $36,696.42                 $0.00

Disbursements:

           Expenses of Administration                          $9,710.33
           Disbursements to Creditors                        $159,443.53

TOTAL DISBURSEMENTS :                                                                      $169,153.86




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        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the
estate has been fully administered, the foregoing summary is true and complete, and all administrative
matters for which the trustee is responsible have been completed. The trustee requests a final decree be
entered that discharges the trustee and grants such other relief as may be just and proper.

Dated: 04/16/2018
                                               By: /s/ Laurie K. Weatherford
                                                                        Trustee
STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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